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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

 M.H. and J.H., on behalf of their minor child,
 C.H.                                                    Civil Action No.

                 Plaintiffs,
                                                         COMPLAINT
         v.

 OMEGLE.COM LLC,                                         JURY TRIAL DEMANDED


                 Defendant.


        Plaintiffs M.H. and J.H., on behalf of their minor child, C.H., by and through their

attorneys, Hach Rose Schirripa & Cheverie LLP, bring this action for damages and other legal and

equitable relief against Omegle.com LLC (“Omegle” or the “Company”). Upon information and

belief, Plaintiffs allege as follows:

                                        INTRODUCTION

        1.      This is a diversity action brought by the parents of a minor child who used

Defendant Omegle’s website and was subsequently victimized and sexually exploited. The sexual

exploitation of minor C.H. was completely avoidable and only occurred because of Defendant

Omegle’s operation of its website.

        2.      As set forth more fully herein, Omegle’s unfair and deceptive business practices

have had serious ramifications for children across the country, including, but not limited to, being
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stalked, sexually assaulted, abused, and exploited by adults and predators. As a result, Plaintiffs

bring claims under federal and state law to obtain redress.

                                            PARTIES

       3.      Plaintiffs M.H. and J.H. reside within the State of New Jersey, in Morris County,

New Jersey. Plaintiffs M.H. and J.H. are the natural parents of minor C.H. C.H. was born in 2009

and all times relevant was eleven (11) years old.

       4.      While using Omegle, neither C.H. nor her parents were asked for verifiable parental

consent to collect, disclose, or use C.H.’s personally identifiable information, including C.H.’s

geolocation. Moreover, neither M.H. nor J.H. were ever provided direct notice with regard to the

collection, use and disclosure of C.H.’s data.

       5.      Defendant Omegle.com LLC is a limited liability corporation registered in the State

of Washington, with its principal place of business located at 4557 11th Ave NE, Apt 131, Seattle,

Washington, 98105-0200 and operates throughout the United States, including in New Jersey and

internationally.

       6.      Founded by Leif Brooks, Omegle grew in popularity since 2009. The Omegle

website gets millions of page views per day with an uptick of user activity during the COVID-19

pandemic.

                                  JURISDICTION AND VENUE

       7.      This is an action seeking damages in excess of $75,000.00, exclusive of interest,

costs and attorney’s fees.

       8.      Federal subject matter jurisdiction arises out of diversity of citizenship pursuant to

28 U.S.C. § 1332, as this is a civil action where the matter in controversy exceeds the sum or value




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of $75,000.00, exclusive of interest and costs, and is between citizens of different states. In

addition, 28 U.S.C. § 1367 provides supplemental jurisdiction for Plaintiffs’ state law claims.

       9.      Declaratory relief is proper under 28 U.S.C. §§ 2201 and 2202.

       10.     Further, this Court has personal jurisdiction over the Defendant because Defendant

regularly conducts business in this District and/or under the stream of commerce doctrine by

causing its products and services to be disseminated in this District, including its website used by

C.H.

       11.     Venue in this District is proper under 28 U.S.C. § 1391(b) because the events giving

rise to the action occurred in Morris County, located entirely within the geographic boundaries for

the District of New Jersey.

                                  SUBSTANTIVE ALLEGATIONS

COPPA Prohibits the Collection of Children’s Personally Identifiable Information Without
Verifiable Parental Content

       12.     Recognizing the vulnerability of children in the Internet age, in 1999 Congress

enacted the Children’s Online Privacy Act (“COPPA”). See 16 U.S.C. §§ 6501-6505. COPPA’s

express goal is to protect children’s privacy while they are connected to the internet. Under

COPPA, developers of child-focused apps and websites cannot lawfully obtain the personally

identifiable information of children under 13 years of age without first obtaining verifiable consent

from their parents.

       13.     COPPA applies to any operator of a commercial website or online service that is

directed to children and that: (a) collects, uses, and/or discloses personally identifiable information

of children, or (b) on whose behalf such information is collected or maintained. Under COPPA,

personally identifiable information is “collected or maintained on behalf of an operator …[t]he

operator benefits by allowing another person to collect personally identifiable information directly

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from users of” an online service. 16 C.F.R. § 312.2. Further, COPPA applies to any operator of a

commercial website or online service that has actual knowledge that it collects, uses, and/or

discloses personally identifiable information from children.

       14.      Under COPPA, “personally identifiable information” includes information such as

names, email addresses, and social security numbers. COPPA’s broad definition of “personally

identifiable information” is as follows:

                “individually identifiable information about an individual collected
                online,” which includes (1) a first and last name; (2) a physical
                address including street name and name of a city or town; (3) online
                contact information (separately defined as “an email address or any
                other substantially similar identifier that permits direct contact with
                a person online”); (4) a screen name or user name; (5) telephone
                number; (6) social security number; (7) a media file containing a
                child’s image or voice; (8) geolocation information sufficient to
                identify street name and name of a city or town; (9) a “persistent
                identifier that can be used to recognize a user over time and across
                different Web sites or online services” (including but not limited to
                a customer number held in a cookie, an Internet Protocol (IP)
                address, a processor or device serial number, or unique device
                identifier´); and (10) any information concerning the child or the
                child’s parents that the operator collects then combines with an
                identifier.

       15.      In order to lawfully collect, use, or disclose personally identifiable information,

COPPA requires that an operator meet specific requirements, including each of the following:

             a. Posting a privacy policy on its website or online service providing clear,
                understandable, and complete notice of its information practices, including what
                information the website operator collets from children online, how it uses such
                information, its disclosure practices for such information, and other specific
                disclosures as set forth in the Rule;

             b. Providing clear, understandable, and complete notice of its information practices,
                including specific disclosures, directly to parents; and

             c. Obtaining verifiable parental consent prior to collecting, using, and/or disclosing
                personally identifiable information from children.


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        16.      Under COPPA, “[o]btaining verifiable consent means making any reasonable effort

(taking into consideration available technology) to ensure that before personally identifiable

information is collected from a child, a parent of the child . . . [r]eceives notice of the operator’s

personally identifiable information collection, use and disclosure practices; and [a]uthorizes any

collection, use, and/or disclosure of the personally identifiable information.” 16 C.F.R. § 312.2.

        17.      The FTC recently clarified acceptable methods for obtaining verifiable parent

consent, include:

              a. Providing a form for parents to sign and return;

              b. Requiring the use of a credit/card online payment that provides notification of each
                 transaction;

              c. Connecting to trained personnel via video conference;

              d. Calling a staffed toll-free number;

              e. Asking knowledge based questions; or

              f. Verifying a photo-ID from the parent compared to a second photo using facial
                 recognition technology.

Defendant is An Operator Under COPPA

        18.      Omegle is an “operator” pursuant to COPPA. Specifically, COPPA defines an

“operator,” in pertinent part, as:

                 any person who operates a Web site located on the Internet or an
                 online service and who collects or maintains personally identifiable
                 information from or about the users of or visitors to such Web site
                 or online service, or on whose behalf such information is collected
                 or maintained, or offers products or services for sale through that
                 Web site or online service, where such Web site or online service is
                 operated for commercial purposes involving commerce among the
                 several States or with 1 or more foreign nations; in any territory of
                 the United States or in the District of Columbia, or between any such
                 territory and another such territory or any State or foreign nation; or
                 between the District of Columbia and any State, territory, or foreign
                 nation. 16 C.F.R. § 312.2.
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       19.     Defendant operated its website entirely online. Indeed, without a connection to the

internet, Plaintiff could never have accessed Omegle’s service.

The Company’s Operations

       20.     Omegle is a website that enables an individual user to communicate with random

individuals across the world anonymously via text and video.

       21.     Specifically, users log in using a webcam and microphone and are matched with

another random user. Although users are paired randomly, there are some cases where

conversations are matched according to similarity in subjects. The website designates users as

“You” or “Stranger 1” or “Stranger 2.”

       22.     When a user loads the Omegle webpage, the user is met with the following

language: “To help you stay safe, chats are anonymous unless you tell someone who you are (not

suggested!), and you can stop a chat at any time. Predators have been known to use Omegle, so

please be careful.” (Emphasis added.)

       23.     Omegle’s website declares, “Video is monitored. Keep it clean.”

       24.     To use the Omegle website, a user simply clicks on “text” or “video” under the

words “start chatting.” The user is then immediately placed in a chat with a stranger.

       25.     Omegle’s website does not require any age verification or authentication. There is

nothing preventing a minor under the age of thirteen (13) from accessing the website.

       26.     Omegle’s website is vulnerable to hacking. As a result, a user of Omegle is able to

grab screenshots of previous conversations and then use this data to obtain another user’s

geographic location.




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The Company’s Infamy and Synonymy With Sexual Expression

         27.     Since 2016, the use of Omegle’s website by pedophiles became known to the public

and to the Company itself.

         28.     Vigilante activists became aware of Omegle’s repeated use by pedophiles and even

filmed videos of themselves attempting to catch pedophiles in the act.1

         29.     Further, the Company has been mentioned in numerous criminal cases across the

country as individuals have been arrested for possessing and promoting child pornography. For

example, in April 2016, Ammar Butaleb was arrested in Pittsburgh, Pennsylvania after he received,

viewed and downloaded child pornography through Omegle. In December 2018, in Scranton,

Pennsylvania Robert Alexander Kusma was charged with the sexual assault of a minor under

sixteen (16) years of age after first meeting and grooming the girl on Omegle. In April 2019, in

the state of New Jersey, twenty-four sexual predators were arrested in what was dubbed “Operation

Home Alone” for using social media platforms – including Omegle – to lure children for sex. In

February 2020, Dalton Matthew Bates was arrested in Kentucky for thousands of counts of

possession of child pornography across multiple social media platforms and applications,

including Omegle. Most recently, in July 2020, in Morris County, New Jersey Robert Murphy pled

guilty to endangering the welfare of a child after he tried to set up an in person meeting for sex

with an eleven year old girl he met on Omegle. Historically, there have been numerous arrests in

other countries – for example in Norway, Canada, and the United Kingdom – for using internet

services, like the Company, to prey upon, sexually exploit, and eventually sexually abuse and

assault children.




1
    Some of these videos have been the subject of lawsuits in courtrooms across the country.
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         30.      Upon information and belief, the Company has been contacted by individuals either

representing these exploited children or the authorities investigating the crimes committed against

these children.

         31.      As a result the countless allegations of the use of the Company’s website by those

who target children for sexual abuse, assault and exploitation resulting in the both media coverage,

along with the arrests and convictions of these predators, the Company had full knowledge of the

extent to which its website was used as vehicle to sexually target, groom, exploit and abuse

children, like C.H.

         32.      The Company is aware that minor children use its website. In fact, the Company

has the following language printed in small print on the bottom of its website:

                  By using the Omegle Web site, and/or related products and/or
                  services (“Omegle:, provided by Omegle.com LLC), you agree to
                  the following terms: Do not use Omegle if you are under 13. If you
                  are under 18, use it only with a parent/guardian's permission. Do not
                  transmit nudity, sexually harass anyone, publicize other peoples'
                  private information, make statements that defame or libel anyone,
                  violate intellectual property rights, use automated programs to start
                  chats, or behave in any other inappropriate or illegal way on
                  Omegle. Understand that human behavior is fundamentally
                  uncontrollable, that the people you encounter on Omegle may not
                  behave appropriately, and that they are solely responsible for their
                  own behavior. Use Omegle at your own peril. Disconnect if anyone
                  makes you feel uncomfortable. You may be denied access to
                  Omegle for inappropriate behavior, or for any other reason.2

         33.      The use of the disclaimers on the Company’s website alone indicates that Omegle

had knowledge of the improper, illegal and immoral use of its website.




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    See https://www.omegle.com/ (last accessed August 17, 2020).
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       34.     Defendant Omegle does not provide any guidance to parents looking to monitor

their children’s use of the website. The Company’s printed warning on its homepage is nothing

but window dressing.

       35.     Despite the Company’s knowledge of the use of its website for these nefarious

purposes, the Company took no precaution to monitor or log the content of the chats of its users.

       36.     Further, the Company took no precaution to actually monitor the age of its users or

prevent the use of its website by minors under the age of consent.

       37.     As a result of the Company’s failures, hundreds of thousands of minors who use

Omegle’s website are currently subject to sexual exploitation and abuse.

C.H. Uses Omegle and is Predictably Victimized and Damaged

       38.     During the COVID-19 pandemic, C.H. was forced to attend school remotely and as

such was provided with a Chromebook from her school.

       39.     On or about March 31, 2020, C.H. used her Chromebook to access the Omegle

website. Notably, C.H. had never used Omegle’s website before. C.H. was first paired to chat with

a group of minors who appeared to be older than C.H. C.H. ended the chat with the group of

minors and was placed in another chat.

       40.     Upon entering the second chat, C.H. encountered a black screen. Shortly thereafter

C.H. began to see text being typed on the black screen.

       41.     This unknown user (“Doe”) informed C.H. that he knew where C.H. lived and

provided C.H. with her geolocation. Further, Doe also told C.H. that he knew that that there were

other cell phones and computers in C.H.’s house, which he threatened to hack.

       42.     Scared and confused, C.H. pleaded with Doe to leave her alone.




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       43.     C.H. was instructed to remove all of her clothing – including her underwear – and

touch herself in front of the camera. C.H. pleaded with Doe and offered gift cards to Doe instead

of complying with his demand. Doe became more forceful with C.H. and demanded that she

remove her clothing. Eventually, C.H. complied with Doe’s demands and disrobed and touched

herself according to the instructions she received.

       44.     Doe captured screen grabs or videos of C.H.’s actions forever memorializing her

forced pornographic performance.

       45.     Immediately after this incident, C.H. notified her parents of what occurred and

M.H. and J.H. reported the incident to the local police authorities.

       46.     The criminal investigation into C.H.’s sexual exploitation has reached a dead end

due to the multiple issues law enforcement regularly face with sexual predators who utilize Omegle

and websites like it to prey upon children.

Omegle Engaged in the Foregoing Acts Without Obtaining Verifiable Parental Consent

       47.     Omegle allowed for the collection, use, and disclosure of C.H.’s personally

identifiable information and/or viewing C.H.’s data without notifying her parents and/or guardians.

       48.     Omegle never obtained verifiable parental consent to collect, use, or disclose

children’s personally identifiable information and/or viewing data.

       49.     C.H. never knew that her personally identifiable information and/or viewing data

could be collected, disclosed, or used because at all times Defendant failed to provide C.H’s

parents/guardians any of the required disclosures, never sought verifiable parental consent, and

never provided any mechanism by which the C.H’s parents or guardians could provide verifiable

consent.




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          50.   Defendant’s unlawful collection of C.H.’s personally identifiable information

and/or viewing information for commercial gain exposed C.H., and others like her, to pedophiles

and other predators online.

                                     CLAIMS FOR RELIEF

                        FIRST CLAIM FOR RELIEF
     VIOLATION OF THE VIDEO PRIVACY PROTECTION ACT, 18 U.S.C. § 2710

          51.   Plaintiffs reallege and reassert each of the preceding paragraphs as if fully set forth

herein.

          52.   Defendant is a video tape service provider subject to 18 U.S.C. § 2710(a)(4) of the

Video Privacy Protection Act (“VPPA”). Defendant is “engaged in the business, in or affecting

interstate or foreign commerce, of rental, sale or delivery of prerecorded video cassette tapes or

similar audio-visual materials” by delivering videos recorded on its website.

          53.   As users of the website, C.H. is a consumer within the definition of 18 U.S.C. §

2710(a)(1) of the VPPA.

          54.   Defendant collected consumers’ personally identifiable information (“PII”) within

18 U.S.C. § 2710 (a)(3).

          55.   Defendant has disclosed PII to third-parties, including data brokers and advertisers,

to generate revenue and profit.

          56.   Defendant failed to solicit and/or obtain consent from C.H. to collect and disclose

her PII, nor did Defendant provide clear and conspicuous notice of the disclosure of PII, as defined

in 18 U.S.C. § 2710 (b)(2)(B).

          57.   The knowing disclosures and transmission of PII violates the VPPA within the

meaning of 18 U.S.C. § 2710 (b)(1).




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          58.   Accordingly, C.H. is entitled under 18 U.S.C. § 2710(c)(2) to an award of damages

(actual, liquidated, or punitive), reasonable attorneys’ fees, other litigation costs reasonably

incurred, and such relief as the Court deems appropriate.

                                 SECOND CLAIM FOR RELIEF
                                INTRUSION UPON SECLUSION

          59.   Plaintiffs reallege and reassert each of the preceding paragraphs as if fully set forth

herein.

          60.   C.H. has a reasonable expectation of privacy in her online behavior, generally.

C.H.’s private affairs include her behavior on any device that may be monitored by the

surreptitious collection and tracking of C.H.’s personally identifiable information and/or viewing

data employed or otherwise enabled by the website.

          61.   The reasonableness of such expectation of privacy is supported by Defendant’s

unique position to monitor C.H.’s behavior through access to C.H.’s private devices. It is further

supported by Defendant’s surreptitious, highly-technical tracking of users through video.

          62.   Defendant intentionally intruded onto and into C.H.’s solitude, seclusion, or private

affairs by intentionally designing the website to allow for the surreptitious and improper gaining

of knowledge of, review, and or retention of C.H.’s activities through the technologies and

activities described herein.

          63.   These intrusions are highly offensive to a reasonable person. This is evidenced by,

inter alia, the legislation enacted by Congress, rules promulgated and enforcement actions

undertaken by the FTC, and countless studies, op-eds, and articles decrying the online tracking of

children. Further, the extent of the intrusion cannot be fully known, as the nature of privacy

invasion involves sharing C.H’s personally identifiable information and/or viewing data with




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potentially countless third-parties, known and unknown, for undisclosed and potentially

unknowable purposes, in perpetuity.

          64.   C.H. was harmed by the intrusion into her private affairs as detailed throughout this

Complaint.

          65.   Defendant’s actions and conduct complained of herein were a substantial factor

Defendant’s actions and conduct complained of herein were a substantial factor in causing the

harm suffered by C.H.

          66.   As a result of Defendant’s actions, Plaintiffs seek nominal and punitive damages in

an amount to be determined at trial. Plaintiffs seek punitive damages because Defendant’s actions

which were malicious, oppressive, and willful were calculated to injure C.H. and made in

conscious disregard of her rights. Punitive damages are warranted to deter Defendant from

engaging in future misconduct.

                                  THIRD CLAIM FOR RELIEF
                                       NEGLIGENCE

          67.   Plaintiffs reallege and reassert each of the preceding paragraphs as if fully set forth

herein.

          68.   Omegle owed C.H. and the general public the highest duty of care to provide safe

means and methods for using its website.

          69.   Omegle breached the duty of care by failing to implement adequate safety and

security measures – including monitoring its users’ age and ongoing monitoring of its users’

conduct while using its service and application. Defendant had an ongoing, non-delegable duty to

continue to monitor, supervise, inspect, and assess the use of service and application to prevent the

mistreatment of its users.




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          70.   Defendant failed to prevent minors from using its website despite its knowledge

that its website was used by minors; was inherently dangerous; and had been misused by sexual

predators to groom and sexually abuse and exploit children. Defendant further failed to interview,

assess, inspect or otherwise check on the welfare of its users to ensure that they were not being

harmed, sexually abused, or otherwise mistreated and Defendant’s aforesaid failures enabled the

tortious conduct to occur and continue.

          71.   As a direct and proximate result of Omegle’s breaches of duty of care owed, C.H.

– a minor – was subjected to being sexually exploited on the internet by an unknown adult male.

          72.   The acts and omissions of Omegle detailed above were committed wantonly,

willfully, with reckless and/or callous disregard for the safety of its users, including C.H.

          73.   As a result of the above negligence on the part of the Omegle, C.H. was caused to

suffer severe and painful personal injuries, emotional distress, sexual misconduct, pain, suffering,

and mental anguish all of a permanent nature.

          74.   By reason of the foregoing, Omegle is liable for compensatory damages and

punitive damages, together with interests and costs.

                            FOURTH CLAIM FOR RELIEF
                  INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

          75.   Plaintiffs reallege and reassert each of the preceding paragraphs as if fully set forth

herein.

          76.   Omegle engaged in reckless, extreme, and outrageous conduct by failing to take

any real precautions preventing children from using its website, failing to monitor its website and

use of its website to ensure that its users were not being sexually abused, mistreated, or exploited

despite knowing that children were using its service and application and that its service and




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application were providing sexual predators with access to children for those predators to use

Omegle’s website for the purposes of what would likely be causing them harm.

       77.     By its actions and omissions, Omegle intended to and did intentionally and

recklessly cause C.H. to suffer severe emotional distress.

       78.     Omegle’s misconduct was so shocking and outrageous that it exceeds the

reasonable bounds of decency as measured by what the average member of its business

community, and society as whole, would tolerate and demonstrates an utter disregard by Omegle

of the consequences that would follow.

       79.     The conduct was also engaged in with oppression and/or malice, and was in

conscious disregard for the rights and safety of others, including, but not limited to C.H. herein,

so as to warrant the imposition of punitive damages.

       80.     As a direct and proximate result of the Omegle’s conduct, the Doe gained access to

C.H., and engaged in an act of sexual exploitation. C.H. has suffered, and continues to suffer,

severe emotional distress, for which she is entitled to an award of damages.

       81.     Omegle knew that this reckless, extreme, and outrageous conduct would inflict

severe emotional and psychological distress, including personal physical injury as a result,

including severe mental anguish, humiliation and emotional and physical distress.

       82.     By reason of the foregoing, Omegle is liable for compensatory and punitive

damages, together with interests and costs.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court grant the following relief:

compensatory damages, punitive damages, attorneys’ fees and costs, and such other legal and

equitable relief as this Court deems just and proper.



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                                      JURY DEMAND

      Plaintiffs hereby demand a trial by jury on all issues of fact and damages stated herein.




Dated: New York, New York
       August 25, 2020

                                            Respectfully submitted,

                                            HACH ROSE SCHIRRIPA & CHEVERIE LLP

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